                                                                                    027,21*5$17('


                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE


UNITED STATES OF AMERICA                     )
                                             )
vs.                                          )       Case No. 3:12-00219
                                             )       Judge Sharp
COREY SMITH                                  )

                     MOTION TO ALLOW LIMITED APPEARANCE

       Comes now the defendant, Corey Smith, by and through counsel of record, G. Kerry

Haymaker, and hereby moves this Honorable Court to allow attorney, David R. Heroux a one

time limited appearance for the status conference set on July 22, 2013, at 8:30 a.m. G. Kerry

Haymaker is out of town and unreachable. Mr. Haymaker will be back in town and available on

July 23, 2013.

                                                     Respectfully submitted,

                                                     HAYMAKER & HEROUX, P.C.


                                                        /s G. Kerry Haymaker
                                                     G. Kerry Haymaker, BPR 18695
                                                     Attorney for the Defendant
                                                     943 Main Street
                                                     Nashville, Tennessee 37206
                                                     (615)250-0050


                                CERTIFICATE OF SERVICE

        I hereby certify that a true and exact copy of the foregoing Motion for Leave to File
Under Seal has been delivered by US Mail to Brent Hannafan, Assistant United States
Attorney, 110 Ninth Avenue, South, Suite A961, Nashville, TN 37203-3870 on this the 19th day
of July, 2013.

                                                          /s G. Kerry Haymaker
                                                     G. Kerry Haymaker




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